        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 1 of 10




                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

 UNITED STATES OF AMERICA,

         Plaintiff,

 V.                                              CIVIL ACTION NO. 1:23-CV-00853

 GREG ABBOTT, ET AL.,

         Defendants.


                DEFENDANTS’ OPPOSED MOTION TO STRIKE
               PLAINTIFF’S MOTION FOR PROTECTIVE ORDER

        Plaintiff, the United States, filed a motion seeking a protective order relating to the topics

of four Fed. R. Civ. P .30(b)(6) depositions noticed by Defendants. ECF 126. Plaintiff’s motion

should be struck because Plaintiff failed to participate in the required meet-and-confer to resolve

the discovery dispute and failed to adequately brief its objections.

                                          Background

        On June 12, 2024, Defendants reached out to Plaintiff requesting availability for four Fed.

R. Civ. P. 30(b)(6) depositions and, upon request, providing a preliminary list of topics for the

depositions. Ex. A. at 10-14.

        On June 17, 2024, the deadline to notice fact depositions, Defendant noticed the Rule

30(b)(6) depositions, at Plaintiff’s request, while waiting for Plaintiff to provide agreeable dates,

times, and locations. Id. at 7-8.

        On June 18, 2024, 15 minutes before a scheduled meet-and-confer to discuss the unrelated

topic of whether the parties could agree to expand the number of depositions, Plaintiff sought to

add objections to the Rule 30(b)(6) topics to the conference call discussion with the following


                                                      1
         Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 2 of 10




email:

         1) Many of the topics noticed for the four 30(b)(6) depositions are improper, overbroad,
            and/or fail to describe with reasonable particularity the matters for examination. For
            one, Judge Ezra has repeatedly held that immigration and immigration-related matters
            are not relevant in these proceedings, most recently in his April 2024 opinion denying
            Texas’s motion to dismiss to the extent it sought to dismiss the United States’ Rivers
            and Harbors claim. Nonetheless, Texas propounds numerous 30(b)(6) to all four
            noticed federal agencies specifically on immigration topics.

         2) Nor can Texas properly invoke Rule 30(b)(6) to depose an agency on information that
            has nothing to do with the issues in this case by simply tacking on the phrase “Rio
            Grande River” to the subject-matter description—for example: USCG #32: “The
            impact of Operation Fouled Anchor on agency operations on the Rio Grande River.”

         3) Finally, an agency is only required to provide a deponent on topics for information that
            is “known or reasonably available to it.” Many of Texas’s noticed topics attempt to
            use the 30(b)(6) process to require federal agencies to test Texas’s own hypotheses or
            to provide Texas with calculations and analysis related to its own expert testimony.

         Accordingly, unless is willing to narrow the scope of its notices to relevant subject-matters
         reasonably within the noticed agencies’ knowledge, we intend to move for a protective
         order to limit the topics of these four 30(b)(6) depositions to the following (and reserving
         all rights to further amend this list):

         - USCG: 1, 2, 3, 4, 5, 24, 25, 26, 27, 29, 31

         - IBWC: 2, 3, 8, 9, 10, 14, 16, 18, 19, 20, 21, 22, 24, 27, 28

         - USACE: 1, 2, 3, 4, 5, 8, 9, 13, 14, 18, 19, 20, 22, 25, 28, 29, 30, 31, 32, 33, 34, 36, 38

         - CBP: 2, 3, 22, 23, 24

Id. at 4-6.

         Defendant’s counsel stated during the unrelated meet-and-confer that they could not

respond on such short notice to the objections to the Rule 30(b)(6) depositions, but would send a

response by noon on July 20, 2024. Id. at 2.

         On July 20, 2024, Defendants sent Plaintiff amended Rule 30(b)(6) deposition notices and

the following email:

         Thank you for your email. I have reviewed your comments on our deposition topics. You

                                                         2
        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 3 of 10




       identified four distinct and generalized problems with “many” of the deposition topics,
       before identifying the topics that were not objectionable.

       Unfortunately, I cannot tell from your email what the problem was for each of the topics
       you found objectionable. It is impossible to respond without know this information. So, for
       instance, you objected that “many” topics failed to describe with reasonable particularity
       the matters for examination. Without know which topics allegedly suffer from this problem
       I am uncertain which ones need further clarification. Nonetheless, in an act of good faith, I
       went back to the drawing board with the general objections you made in mind. Enclosed are
       amended 30(b)(6) notices that I hope address all of your concerns. In the unlikely event
       that you still find some of the topics objectionable, if you could tell me, for each one, what
       is objectionable then I will endeavor to see if a reasonable accommodation can be made such
       that there is no need to seek protection from the Court.

Ex. A at 1-2.

       Plaintiff thereafter responded to the calendar invite for the scheduled 30(b)(6) depositions

meet-and-confer scheduled for that afternoon with, “[g]iven Texas’ written response and some of

the details therein, and all of that following on the call we already on Tuesday, we see no need for

a further call ‘this’ afternoon, as we inevitably are filing motions today. We will, though, ‘write’

you back this afternoon giving notice of the motions, addressing points in your email, and

answering as many of your questions as we can.” Ex. B at 4-5.

       Defendant’s counsel replied, the same day:

       We hope you enjoyed the Juneteenth holiday. We are confused and saddened by your email.

       We hope that you will have a change of heart. We will be joining the call today as scheduled
       and will be prepared to talk through our issues and the logistics of depositions. It is difficult
       sometimes to understand tone and context from emails, which is to say that we are confused
       about the quotation marks in your email. Nonetheless, we are confident that we can work
       through whatever seems to have upset you during our call.

       We hope you’ll hold off on filing motions with the Court without conferring with us. If the motions
       are related to 30(b)(6) notices, we hope you’ll hold off until you talk to us about each of the
       objectionable topics. The whole purposes of having meet-and-confers is to try to work out
       problems without the need to seek Court intervention. These depositions are month out
       and there is plenty of time for us to talk and work out any differences. We are committed
       to engaging in that process in good faith and working with you to find agreeable solutions.
       We don’t want to bother Magistrate Howell with discovery issues that we could have just worked

                                                       3
          Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 4 of 10




       out with a few phone calls. But communication has to work both ways. We can’t fix something
       if you won’t tell us what you think is wrong. We hope you understand and feel the same
       way. We will, unfortunately, have to bring this to the Court’s attention if you proceed with
       filing motions without meaningfully engaging with us in an attempt to resolve our
       disagreements.

Id. at 3-4 (emphasis added).

       Plaintiff’s counsel responded, inter alia, that “[b]efore filing our motion [For Protective

Order], we will email Texas the final list of what we will seek to quash from Texas’s newly

revised (and untimely as noted above) list of 30(b)(6) topics, so that Texas can readily

articulate if the request is opposed or unopposed.” Id. at 1-2.

       No further emails were sent on the subject; instead, on July 21, 2024, Plaintiff filed

Plaintiff’s Opposed Motion for Protective Order. ECF 126. The motion lacks the required

certificate of conference. It also falsely states that Plaintiff only filed after “efforts to meet and

confer.” Id. at 1. But it was Plaintiff who abruptly cancelled a scheduled meet-and-confer on the

subject on the afternoon of July 21, 2024, and Plaintiff who failed to provide the promised list of

objectionable topics so the parties could confer prior to filing a motion for protection. Ex. B at 5-6.

                                      Motion to Strike

I.     Plaintiff’s Motion for Protective Order Lacks a Certificate of Conference.

       Federal R. Civ. P. 26(c) requires that motions for a protective order “must include a

certification that the movant has in good faith conferred or attempted to confer with other affected

parties in an effort to resolve the dispute without court action.” Fed. R. Civ. P. 26(c) (emphasis

added).

       Similarly, Local Rule CV-7(g) provides that the Court “may refuse to hear or may deny a

nondispositive motion unless the movant advises the court within the body of the motion that

counsel for the parties have conferred in a good-faith attempt to resolve the matter by agreement

                                                      4
        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 5 of 10




and certifies the specific reason that no agreement could be made.” Local Rule CV-7(g).

       Parties “do not satisfy the conference requirements simply by requesting or demanding

compliance, because the parties need to confer, deliberate, converse, or compare views with a goal

of resolving the dispute.” Wareka v. Square, 2022 WL 272118, at *3 (W.D.Tex., 2022) (quoting

Patel v. Shipper Servs. Express, No. 5:20-cv-00267-OLG, 2020 WL 10056291, at *1 (W.D. Tex. Oct.

19, 2020)). Letters or emails alone may not be sufficient to demonstrate that a good-faith effort was

made to resolve the open issues. Id. “Good faith” requires a genuine attempt to resolve the

dispute. Compass Bank v. Shamgochian, 287 F.R.D. 397, 399 (S.D. Tex. 2012); see also McCallum v.

Camping World, Inc., No. SA-19-cv-01021-OLG, 2019 WL 9197839, at *1 n.1 (W.D. Tex. Dec. 17,

2019) (explaining “good faith” requirement of former Local Rule CV-7(i)). To “confer” requires

two-way communication necessary to genuinely discuss any issues and avoid judicial recourse.

Compass Bank, 287 F.R.D. at 399. If an agreement cannot be reached despite a movant's good-faith

efforts, certification under Local Rule CV-7(g) requires a detailed description of the attempts made

to resolve the dispute and the specific reasons why the parties could not reach an agreement. Paulk

v. Fries, No. SA-12-CV-1001-FB, 2013 WL 12129935, at *3 (W.D. Tex. Apr. 9, 2013).

       Plaintiff’s intentional violation of both the letter and the spirit of Fed. R. Civ. P. 26(c) and

Local Rule CV-7(g) warrants striking Plaintiff’s Motion for Protective Order. See, e.g., Rodriguez

v. Taylor, Bean & Whitaker Mortg. Corp., No. SA-12-CV-0039-OLG, 2012 WL 12888786, at *1

(W.D. Tex. Aug. 31, 2012) (denying motion to strike because movant failed to include certificate

of conference). Defendants asked Plaintiff to confer with them on any objectionable Rule 30(b)(6)

topics before seeking a protective order, Ex. B at 3-4, and Plaintiff promised to do so, id. at 1-2.

Defendants expressly reminded Plaintiff about its duty to meet-and-confer before filing the motion.



                                                      5
        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 6 of 10




Id. at 3-4. Nonetheless, Plaintiff filed the motion, without the required Certificate of Conference,

depriving the parties of the opportunity to attempt to work out an agreeable compromise.

       The parties did not participate in a meet-and-confer to discuss the Rule 30(b)(6) deposition

topics. Id. at 5-6. The initial email sent by Plaintiff’s counsel objected to “many” of the noticed

topics without clarifying what the objections were to each topic such that Defendants could fully

respond. Ex. A at 4-6. Nonetheless, even without this information, Defendants attempted to

address Plaintiff’s concerns by amending the deposition topics to add more specificity, id. at 1-2,

only for Plaintiff to then object that the requested clarifications were “untimely.” Ex. B at 5-6.

       Striking Plaintiff’s Motion for Protective Order is in the interest of justice. Defendants have

already shown a willingness to communicate, compromise, and modify the Rule 30(b)(6) topics in

response to Plaintiffs concerns. Ex. A at 1-2; Ex. B at 3-4. It is likely the parties can resolve some,

or all, of the Rule 30(b)(6) topics Plaintiff finds objectionable if they meaningfully participate in a

meet-and-confer in good faith and a willingness to compromise. Id.

       The Court will save judicial resources and promote civility in the profession by striking

Plaintiff’s Motion for Protective Order and directing the parties to meet-and-confer before filing

nondispositive motions as required by Local Rule CV-7(g).

II.    Plaintiff Failed to Adequately Brief the Objections to the Rule 30(b)(6) Topics.

       “[A] party resisting discovery must show specifically how each discovery request is not

relevant or otherwise objectionable.” McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894 F.2d

1482, 1485 (C.A.5 (Tex.), 1990). “Objections to discovery must be made with specificity, and the

responding party has the obligation to explain and support its objections.” Crow v. ProPetro Services,

Inc., 2016 WL 9776368, at *4 (W.D.Tex., 2016) (citing Heller v. City of Dallas, 303 F.R.D. 466, 483



                                                      6
         Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 7 of 10




(N.D. Tex. 2014)).

        Plaintiff’s Motion for Protective Order fails to explain and support its objections for each

of the Rule 30(b)(6) topics. ECF 126; Clark v. Waters, 407 F. App'x 794, 796 (5th Cir. 2011) (per

curiam) (Courts may deem issues abandoned when a party fails to present or properly argue

issues). Plaintiff, instead, repeats verbatim the same two collections of boilerplate objections to

dozens of deposition topics. ECF 126-1. And, in violation of the page-limits in Local Rule CV-7(c),

Plaintiff created a 9-page table of objections and attached them, without explanation, as an exhibit.

Defendants cannot respond to each of the objections because Plaintiff has not explained what is

objectionable about each of the topics. 1 Harris v. Watson, 2023 WL 3255006, at *1 (C.A.5 (Tex.),

2023) (per curiam) (deeming arguments abandoned when the fundamental failure to properly

present and argue the points precluded the Court from engaging in meaningful review); United

States v. Beaumont, 972 F.2d 553, 563 (5th Cir. 1992) (per curiam).

        Some of Plaintiff’s objections are mutually exclusive. Take, for instance, Plaintiff’s

objection to the Rule 30(b)(6) topic relating to 10 years of data from the River Gages in the segment

of the Rio Grande River at issue that are operated by the U.S. International Water Boundary

Commission (USIBWC). ECF 126 at 7-8. Plaintiff objects that the requested information is “not

known or reasonably available” to USIBWC. ECF 126-1 at 7. Yet, in the next breath, it contends

that the topic is also objectionable because the River Gage data is publicly available on the

USIBWC’s website. ECF 126 at 8. Both things cannot be true.

        Moreover, the first objection is obviously made in bad faith given that USIBWC maintains

the River Gages and collects their data. Id. The second objection is similarly incredible because


1
    To the extent Plaintiff discusses specific topics in its motion, Defendants will correspondingly respond in
    Defendants’ Objections and Response to Plaintiff’s Motion for Protective Order.

                                                           7
        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 8 of 10




only some of the River Gage data is available on the USIBWC website. See ECF 130-4, 68:7-23

(USIBWC employee and designated expert testifying that the data necessary to estimate water

depths in the segment of the Rio Grande River at issue are not available on the agency’s online

portal and website.). In any event, that some information response to a deposition topic is publicly

available on the agency’s website is not a proper objection. Rule 30(b)(6) requires the “persons

designated must testify about information known or reasonably available to the organization.” Fed.

R. Civ. P. 30(b)(6).

       Finally, Plaintiff objects that the topics are “overly broad or unduly burdensome” but fails

to discuss, anywhere, in its motion why this is the case. See generally ECF 126; Phillips v. Murphy

Oil USA, Inc., 2024 WL 677711, at *2 (W.D.Tex., 2024) (“A party resisting discovery must show

how the requested discovery was overly broad, burdensome, or oppressive by submitting affidavits

or offering evidence revealing the nature of the burden.”) (citing Orchestrate HR, Inc. v. Trombetta,

178 F. Supp. 3d 476, 507 (N.D. Tex. 2016)); Heller v. City of Dallas, 303 F.R.D. 466, 490

(N.D.Tex., 2014) (requiring the party resisting discovery on the grounds that the information

sought is overly broad, unduly burdensome, or oppressive must submit an affidavit or supporting

evidence revealing the nature of the burden).

       Plaintiff’s general boilerplate objections, which it failed to adequately brief with specificity

for each objectionable topic, should be struck. Id. (“General objections that a discovery request is

“overly broad, [is] unduly burdensome, or seek[s] information that is not relevant and not likely to

lead to the discovery of relevant evidence, are invalid.”); see also Guilbeau v. Schlumberger

Technology Corporation, 2024 WL 940244, at *36 (W.D.Tex., 2024) (“district court need not

consider frivolous, conclusive or general objections.”).



                                                      8
        Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 9 of 10




III.    Plaintiff’s Motion for Protection is Cumulative.

        Defendants’ Motion for Leave to Take More Than 10 Depositions is set for a hearing on

July 2, 2024, and will resolve all matters contained in Plaintiff’s request for a protective order

relating to the deposition notices. ECF 134. Plaintiff’s motion is, therefore, duplicative and should

be struck.

                                         CONCLUSION

        For the foregoing reasons, the Court should grant Defendants’ Motion to Strike Plaintiff’s

Motion for Protective Order and award any further relief to which Defendants may be justly

entitled.

Date: June 27, 2024                              Respectfully submitted,

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                                                     9
       Case 1:23-cv-00853-DAE Document 136 Filed 06/27/24 Page 10 of 10




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                                                Counsel for Defendants


                                   CERTIFICATE OF CONFERENCE

       On June 27, 2024, I conferred with counsel for Plaintiff via email and they indicated that

they are opposed to this motion.


                                                s/ Johnathan Stone
                                                Johnathan Stone
                                                Special Counsel


                                     CERTIFICATE OF SERVICE

       On June 27, 2024, this document was filed electronically through the Court’s CM/ECF

system, which automatically serves all counsel of record.


                                                s/ Johnathan Stone
                                                Johnathan Stone
                                                Special Counsel




                                                    10
